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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PULSEDATA, INC.,                               )
                                               )
                         Plaintiff,            )
                                               )       Case No. 1:23 cv 3653 - JMF
         -against-                             )
                                               )       ORDER FOR ADMISSION
JUNG HOON SON,                                 )           PRO HAC VICE
                                               )
                         Defendants.           )

         The motion of Thomas G. Pasternak, for admission to practice Pro Hac Vice in the above

captioned action is granted.

         Applicant has declared that he is a member in good standing of the bar of the state of

Illinois; and that his contact information is as follows:

         Applicant Name:         Thomas G. Pasternak

         Firm Name:              Akerman LLP

         Address:                71 South Wacker Drive, 46th FL.

         City / State/ Zip:      Chicago, IL 60606

         Telephone / Fax:        (312) 634-5700 / (312) 424-1900

         Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Jung Hoon Son, in the above entitled action.

         IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys.

Dated:
                                                       United States District / Magistrate Judge




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